     Case 2:20-cv-02188-APG-BNW Document 16 Filed 01/12/21 Page 1 of 4



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15
                               UNITED STATES DISTRICT COURT
16
                                        DISTRICT OF NEVADA
17

18
      JPMORGAN CHASE BANK, N.A.,                  Case No.: 2:20-cv-02188-APG-BNW
19
                           Plaintiff,              STIPULATION AND PROPOSED
20
                                                   ORDER EXTENDING DEFENDANT
                    vs.                            FIDELITY NATIONAL TITLE
21
                                                   INSURANCE COMPANY’S TIME TO
      FIDELITY NATIONAL TITLE GROUP,               RESPOND TO MOTION FOR
22
      INC., et al.,                                REMAND [ECF No. 10] AND MOTION
                                                   FOR FEES AND COSTS [ECF No. 11]
23
                           Defendants.
                                                   (First Request)
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO MOTION FOR REMAND AND
                                MOTION FOR FEES AND COSTS
     593709.1
     Case 2:20-cv-02188-APG-BNW Document 16 Filed 01/12/21 Page 2 of 4



1               Defendant Fidelity National Title Insurance Company (“Fidelity”) and Plaintiff JPMorgan
2    Chase Bank N.A.’s (“JPMorgan”) (collectively, the “Parties”), by and through their counsel of
3    record, hereby stipulate and agree as follows:
4               1. On December 1, 2020, JPMorgan filed its Complaint in the Eighth Judicial District
5                  Court, Case No. A-20-825633-C [ECF No. 1-1];
6               2. On December 1, 2020, Fidelity filed a Petition for Removal to this Court [ECF No. 1];
7               3. On December 31, 2020, JPMorgan filed a Motion for Remand [ECF No. 10];
8               4. On December 31, 2020, JPMorgan filed a Motion for Costs and Fees [ECF No. 11];
9               5. Fidelity’s deadline to respond to JPMorgan’s Motion for Remand and Motion for
10                 Costs and Fees is currently January 14, 2021;
11              6. Fidelity’s counsel is requesting an extension until Thursday, January 28, 2021, to file
12                 its response to the pending Motion for Remand and Motion for Costs and Fees;
13              7. Fidelity requests a brief extension of time to respond to the Motion for Remand and
14                 Motion for Costs and Fees to afford Fidelity additional time to respond to the legal
15                 arguments set forth in JPMorgan’s motions;
16              8. JPMorgan does not oppose the requested extension;
17              9. This is the first request for an extension which is made in good faith and not for
18                 purposes of delay;
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                                                          1
        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO MOTION FOR REMAND AND
                                MOTION FOR FEES AND COSTS
     593709.1
     Case 2:20-cv-02188-APG-BNW Document 16 Filed 01/12/21 Page 3 of 4



1               IT IS SO STIPULATED that Fidelity’s deadline to respond to JPMorgan’s Motion for
2    Remand [ECF No. 10] and Motion for Costs and Fees [ECF No. 11] is hereby extended through
3    and including January 28, 2021.
4

5    Dated: January 12, 2021                       EARLY SULLIVAN WRIGHT
                                                    GIZER & McRAE LLP
6
                                                  By:      /s/-- Sophia S. Lau
7                                                         SCOTT E. GIZER
                                                          SOPHIA S. LAU
8                                                         Attorneys for Defendant FIDELITY
                                                          NATIONAL TITLE INSURANCE
9                                                         COMPANY
10
     Dated: January 12, 2021                       SINCLAIR BRAUN LLP
11
                                                  By:      /s/-Kevin S. Sinclair
12
                                                          KEVIN S. SINCLAIR
                                                          Attorneys for Defendant FIDELITY
13
                                                          NATIONAL TITLE INSURANCE
                                                          COMPANY
14

15
     Dated: January 21, 2021                       WRIGHT FINLAY & ZAK, LLP
16
                                                  By:      /s/-Lindsay D. Robbins
17                                                        LINDSAY D. ROBBINS
                                                          Attorneys for Plaintiff WELLS FARGO
18                                                        BANK, N.A.

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     IT IS SO ORDERED:
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     Dated: January 12, 2021                         By:
22
                                                           UNITED STATES JUDGE
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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO MOTION FOR REMAND AND
                                MOTION FOR FEES AND COSTS
     593709.1
     Case 2:20-cv-02188-APG-BNW Document 16 Filed 01/12/21 Page 4 of 4



1                                        CERTIFICATE OF SERVICE
2

3               I hereby certify that on January 12, 2021, I electronically filed the foregoing with the
4    Clerk of the Court using the CM/ECF system which will send notification of such filling to the
5    Electronic Service List for this Case.
6               I declare under penalty of perjury under the laws of the United State of America that the
7    foregoing is true and correct.
8

9

10                                                  /s/ D’Metria Bolden
                                                     D’METRIA BOLDEN
11
                                                     An Employee of EARLY SULLIVAN
12                                                   WRIGHT GIZER & McRAE LLP

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        STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO MOTION FOR REMAND AND
                                MOTION FOR FEES AND COSTS
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